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                           Law Office of
 Zachary Margulis-Ohnuma

                                                           October 30, 2020

Via ECF and email

Hon. P. Kevin Castel                                     Application GRANTED.
Southern District of New York                            SO ORDERED.
United States Courthouse                                 11/2/2020
500 Pearl Street
New York, NY 10007

       RE: U.S. v. Donato Poliseno, 20 Cr. 163 (PKC)

Dear Judge Castel:

   This office represents Donato Poliseno in the above-captioned matter. We write to
request a temporary modification of Mr. Poliseno’s conditions of release to permit his travel
to New Brunswick, New Jersey, on Wednesday, November 4, 2020. The purpose of the trip is
to purchase products for Mr. Poliseno’s Christmas tree and wreath business, which he
maintains to support his family.

   Mr. Poliseno plans to travel from his home in Delaware to New Brunswick, New Jersey by
car on November 4, 2020, to pick up the products. He will return directly home to Delaware
on the same date.

  The Government and Pretrial Services do not object to this request. Mr. Poliseno has
complied with all conditions of his release to date.

  Thank you for your attention to this matter.

                                                  Very truly yours,

                                                  Benjamin Notterman
                                                  Benjamin Notterman


CC: Andrew Adams (via ECF and email)




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